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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  CLARKSBURG

  UNITED STATES OF AMERICA,

                       Plaintiff,

        vs.                                      Case No.: 1:14CR89-4
                                                 (JUDGE KEELEY)

  KHALIL BROWN,

                       Defendant.

                         REPORT AND RECOMMENDATION
                    CONCERNING PLEA OF GUILTY IN FELONY CASE

                 This matter has been referred to the undersigned Magistrate Judge by

   the District Court for purposes of conducting proceedings pursuant to Federal Rule of

   Criminal Procedure 11. Defendant, Khalil Brown, in person and by counsel, Natalie

   J. Sal, appeared before me on October 14, 2015. The Government appeared by

   Assistant United States Attorney, Zelda E. Wesley. The Court determined that

   Defendant was prepared to enter a plea of "Guilty" to Count Twenty-Eight of the

   Indictment.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant

   under oath. Thereafter, the undersigned asked Defendant whether he understood

   that if he were not a citizen of the United States, by pleading guilty to a felony charge

   he would be subject to deportation at the conclusion of any sentence; that he would

   be denied future entry into the United States; and that he would be denied citizenship

   if he ever applied for it. Defendant stated that he understood.

         The Court determined that Defendant's plea was pursuant to a written plea

   agreement, and asked the Government to tender the original to the Court. The Court
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   asked counsel, for the Government, if the agreement was the sole agreement offered

   to Defendant. The Government responded that it was, and counsel for Defendant

   confirmed the same. The Court asked counsel for the Government to summarize the

   written plea agreement.   Defendant stated that the agreement as summarized by

   counsel for the Government was correct and complied with his understanding of the

   agreement. The Court ORDERED the written plea agreement filed.

         The Court next inquired of Defendant concerning his understanding of his

   right to have an Article III Judge hear the entry of his guilty plea and his

   understanding of the difference between an Article III Judge and a Magistrate

   Judge. Defendant thereafter stated in open court that he voluntarily waived his right

   to have an Article III Judge hear his plea and voluntarily consented to the

   undersigned Magistrate Judge hearing his plea, and tendered to the Court a written

   Waiver of Article III Judge and Consent to Enter Guilty Plea before Magistrate

   Judge, which waiver and consent was signed by Defendant and countersigned by

   Defendant's counsel and was concurred by the signature of the Assistant United

   States Attorney.

         Upon consideration of the sworn testimony of Defendant, as well as the

   representations of his counsel and the representations of the Government, the

   Court finds that the oral and written waiver of Article III Judge and consent to enter

   guilty plea before a Magistrate Judge was freely and voluntarily given. Additionally,

   the Court finds that the written waiver and consent was freely and voluntarily

   executed by Defendant, Khalil Brown, only after having had his rights fully explained


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   to him and having a full understanding of those rights through consultation with his

   counsel, as well as through questioning by the Court. The Court ORDERED the

   written Waiver and Consent to Enter Guilty Plea before a Magistrate Judge filed and

   made part of the record.

         The undersigned then reviewed with Defendant Count Twenty-Eight of the

   Indictment and the elements the Government would have to prove, charging him

   with distribution of heroin within 1,000 feet of a protective location, in violation of

   21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 860. The undersigned then reviewed

   with Defendant the statutory penalties applicable to an individual adjudicated guilty

   of the felony charge contained in Count Twenty-Eight of the Indictment, the impact of

   the sentencing guidelines on sentencing in general, and inquired of Defendant as to

   his competency to proceed with the plea hearing.             From said review, the

   undersigned Magistrate Judge determined Defendant understood the nature of the

   charges pending against him and understood the possible statutory maximum

   sentence that could be imposed upon his conviction or adjudication of guilty on

   Count Twenty-Eight was imprisonment for a term of not less than one (1) year and

   not more than forty (40) years; understood that a fine of not more than $2,000,000.00

   could be imposed; understood that both fine and imprisonment could be imposed;

   understood he would be subject to a period of at least six (6) years of supervised

   release; and understood t h a t the Court would impose a special mandatory

   assessment of $100.00 for the felony conviction payable on or before the date of

   sentencing. Defendant also understood he might be required by the Court to pay the


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   costs of his incarceration and supervised release.

         The undersigned also reviewed with Defendant his waiver of appellate and

   collateral attack rights. Defendant understood that if the District Judge imposed an

   actual sentence with a base offense level of twenty-four (24) or lower, he was

   waiving his right to appeal his conviction and sentence to the Fourth Circuit Court of

   Appeals on any ground whatsoever, including those grounds set forth in 18 U.S.C. §

   3742. Defendant further understood that under his plea agreement, he was waiving

   his right to challenge     his conviction and sentence in any post-conviction

   proceeding, including any proceeding under 28 U.S.C. § 2255.               Defendant

   understood, however, that he was reserving the right to raise claims of ineffective

   assistance of counsel or prosecutorial misconduct that he learned about after the

   plea hearing, and agreed that he was unaware of any ineffective assistance of

   counsel or prosecutorial misconduct in his case at this time. From the foregoing, the

   undersigned determined that Defendant understood his appellate rights and

   knowingly gave up those rights pursuant to the conditions contained in the written

   plea agreement.

         The undersigned Magistrate Judge further examined Defendant relative to his

   knowledgeable and voluntary execution of the written plea bargain agreement, and

   determined   the entry into said written plea bargain agreement was both

   knowledgeable and voluntary on the part of Defendant. The undersigned then

   inquired of Defendant regarding his understanding of the written plea agreement.

   Defendant stated he understood the terms of the written plea agreement and also


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   stated that it contained the whole of his agreement with the Government and no

   promises or representations were made to him by the Government other than those

   terms contained in the written plea agreement.

         The undersigned Magistrate Judge further inquired of           Defendant, his

   counsel, and the Government as to the non-binding recommendations and

   stipulations contained in the written plea bargain agreement and determined that

   Defendant understood, with respect to the plea bargain agreement and to

   Defendant's entry of a plea of guilty to the felony charge contained in Count

   Twenty-Eight of the Indictment, the undersigned Magistrate Judge would write the

   subject Report and Recommendation and would further order a pre-sentence

   investigation report be prepared by the probation officer attending the District

   Court. The undersigned advised the Defendant that the District Judge would

   adjudicate the Defendant guilty of the felony charged under Count Twenty-Eight of the

   Indictment. Only after the District Court had an opportunity to review the pre-

   sentence investigation report, would the District Court make a determination as to

   whether to accept or reject any recommendation or stipulation contained within the

   plea agreement or pre-sentence report. The undersigned reiterated to Defendant that

   the District Judge may not agree with the recommendations or stipulation contained in

   the written agreement. The undersigned Magistrate Judge further advised Defendant,

   in accord with Federal Rule of Criminal Procedure 11, that in the event the District

   Court Judge refused to follow the non-binding recommendations or stipulation

   contained in the written plea agreement and/or sentenced him to a sentence which


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   was different from that which he expected, he would not be permitted to withdraw his

   guilty plea. Defendant and his counsel each acknowledged their understanding and

   Defendant maintained his desire to have his plea of guilty accepted.

         Defendant also understood that his actual sentence could not be calculated

   until after a pre- sentence report was prepared and a sentencing hearing

   conducted. The undersigned       also advised, and Defendant       stated that he

   understood, that the Sentencing Guidelines are no longer mandatory, and that, even

   if the District Judge did not follow the Sentencing Guidelines or sentenced him to a

   higher sentence than he expected, he would not have a right to withdraw his guilty

   plea. Defendant further stated that his attorney showed him how the advisory

   guideline chart worked but did not promise him any specific sentence at the time of

   sentencing. Defendant stated that he understood his attorney could not predict or

   promise him what actual sentence he would receive from the sentencing judge at the

   sentencing hearing. Defendant further understood t h a t there was no parole in the

   federal system, but that he may be able to earn institutional good time, and that

   good time was not controlled by the Court, but by the Federal Bureau of Prisons.

         The Court heard the testimony of Sergeant John Rogers. Sergeant Rogers

   testified that he worked in an undercover capacity, and that on March 6, 2014, while

   working undercover, he purchased heroin from Defendant within one-thousand

   (1,000) feet of West Virginia University. The West Virginia State Police laboratory

   confirmed the substance purchased within one-thousand (1,000) feet of West

   Virginia University was heroin. During the drug transaction, Defendant, identified


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   himself as Shadow. Sergeant Rogers identified Defendant, Khalil Brown, present in

   the courtroom, as “Shadow.”

         Defendant stated he heard, understood, and did not disagree with Sergeant

   Rogers' testimony. The undersigned United States Magistrate Judge concludes the

   offense charged in Count Twenty-Eight of the Indictment is supported by an

   independent basis in fact concerning each of the essential elements of such

   offense; that independent basis is provided by Sergeant John Rogers testimony.

         Thereupon, Defendant, Khalil Brown, with the consent of his counsel, Natalie

   J. Sal, proceeded to enter a verbal plea of GUILTY to the felony charge in Count

   Twenty-Eight of the Indictment.

         Upon consideration of all of the above, the undersigned Magistrate Judge

   finds that Defendant is fully competent and capable of entering an informed plea;

   Defendant is aware of and understood his right to have an Article Ill Judge hear and

   accept his plea and elected to voluntarily consent to the undersigned United States

   Magistrate Judge hearing his plea; Defendant understood the charges against him,

   not only as to the Indictment as a whole, but in particular as to Count Twenty-Eight of

   the Indictment; Defendant understood the consequences of his plea of guilty, in

   particular the minimum and maximum statutory penalty to which he would be

   exposed for Count Twenty-Eight; Defendant made a knowing and voluntary plea of

   guilty to Count Twenty-Eight of the Indictment; and Defendant's plea is independently

   supported by Sergeant John Rogers testimony, which provides, beyond a reasonable

   doubt, proof of each of the essential elements of the charges to which Defendant


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   has pled guilty.

          The undersigned Magistrate Judge therefore recommends Defendant's plea of

   guilty to Count Twenty-Eight of the Indictment herein be accepted conditioned upon

   the Court's receipt and review of this Report and Recommendation.

          The undersigned further directs that a pre-sentence investigation report be

   prepared by the adult probation officer assigned to this case.

          Any party may, within fourteen (14) days after being served with a copy of this

   Report and Recommendation, file with the Clerk of the Court written objections

   identifying the portions of the Report and Recommendation to which objection is

   made, and the basis for such objection. A copy of such objections should also be

   submitted to the Honorable Irene M. Keeley, United States District Judge. Failure to

   timely file objections to the Report and Recommendation set forth above will result

   in waiver of the right to appeal from a judgment of this Court based upon such

   report and recommendation.      28 U.S.C. § 636(b)(l); United    States v. Schronce,

   727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984); Wright v. Collins,

   766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).


          The Clerk of the Court is directed to send a copy of this Report and

  Recommendation to counsel of record.



  Respectfully submitted on October 15, 2015




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